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                   EXHIBIT A




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 1   Mark Potter Esq., SBN 166317                                         Electronically FILED by
                                                                          Superior Court of California,
     Krista Hemming, SBN 304213                                           County of Los Angeles
 2   POTTER HANDY, LLP                                                    3/24/2025 12:00 AM
                                                                          David W, Slayton,
 3
     100 Pine Street, Ste. 1250                                           Executive Officer/Clerk of Court,
     San Francisco, CA 94111                                              By G, Cordon, Deputy Clerk

 4   Phone: (858) 375-7385; Fax: (888) 422-5191
     Email: TEMUlit@potterhandy.com
 5   Attorneys for Plaintiffs
 6

 7                  SUPERIOR COURT FOR THE STATE OF CALIFORNIA

 8                                    COUNTY OF LOS ANGELES

 9    Johnny Hart, (See additional parties list           CASE NO. ________________________
                                                                    2 5ST C:V O 8 57 7
10    with plaintiffs attached)
                                                          [UNLIMITED] COMPLAINT FOR
11                      Plaintiffs,                       DAMAGES

12                      vs.                               1. VIOLATION OF THE
13
                                                          ELECTRONIC COMMUNICATIONS
      WHALECO, Inc., d/b/a TEMU; PDD                      PRIVACY ACT OF 1986 (ECPA);
14    Holdings, Inc., f/k/a PINDUODOU Inc.;               2. VIOLATION OF THE COMPUTER
      and DOES 1-100, inclusive,                          FRAUD AND ABUSE ACT;
15                                                        3. VIOLATION OF THE CALIFORNIA
                       Defendants.                        COMPREHENSIVE DATA ACCESS
16
                                                          AND FRAUD ACT ("CDAFA");
17                                                        4. VIOLATION OF THE CALIFORNIA
                                                          INVASION OF PRIVACY ACT;
18                                                        5. VIOLATION OF THE CALIFORNIA
                                                          UNFAIR COMPETITION LAW;
19                                                        6. VIOLATION OF THE CALIFORNIA
20                                                        FALSE ADVERTISING LAW;
                                                          7. VIOLATION OF THE RIGHT OF
21                                                        PRIVACY UNDER THE CALIFORNIA
                                                          CONSTITUTION;
22                                                        8. INTRUSION UPON SECLUSION
23
                                                            DEMAND FOR JURY TRIAL
24

25
           Plaintiffs Johnny Hart, (See additional parties list with plaintiffs attached) (collectively
26   "Plaintiffs"), bring this complaint based upon on information and belief, by and through
27   undersigned counsel, against Whaleco Inc. d/b/a Temu ("Temu"), and PDD Holdings Inc.
28   f7k/a Pinduoduo Inc. (collectively, "Defendants").
                                            1
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 1                                    JURISDICTION AND VENUE
 2           1.      This Court has subject matter jurisdiction over this action pursuant to Article
 3   VI, section 10 of the California Constitution and Code of Civil Procedure section 410.10
 4           2.      This Court has personal jurisdiction over Defendants. Defendants are a

 5   corporation or other business entity authorized to conduct and does conduct business in the
     Stat of California. Defendants advertise and sells products in California, and conducts
 6
     sufficient business with sufficient minimum contacts in California, and/or otherwise
 7
     intentionally avails itself of the California market through its promotion, sales, distribution,
 8
     and marketing within this State to render the exercise of jurisdiction by this Court permissible.
 9
             3.      Venue is proper in this county in accordance with Section 395(a) of the
10   California Code of Civil Procedure because the alleged wrongs occurred in the county. Venue
11   is also proper in this county because it was the county where at least one Plaintiff resides.
12
                                          NATURE OF ACTION
13
             4.      In 2022, Defendants launched an online shopping platform, Temu, in the
14
     United States. The Temu mobile app and website (the "Temu platform" or "Temu app"), is
15
     purported to be an online shopping platform that allows users to purchase low-cost goods
16   manufactured in China. However, the Temu app is actually dangerous malware,
17   surreptitiously granting itself ac cess to virtually all data on a user's cell phone.
18           5.      Specifically, Temu is purposefully designed to gain unrestricted access to a

19   user's phone operating system, including, but not limited to, a user's camera, specific
     location, contacts, text messages, documents, biometric information and other applications.
20
     Temu is designed to make this expansive access undetected, even by sophisticated users.
21
             6.      Once installed, Temu can recompile itself and change properties, including
22
     overriding the data privacy settings users believe they have in place. Even users without the
23
     Temu app are subject to Temu's gross overreach if any of their information is on the phone of
24   a Temu user. Temu monetizes this unauthorized collection of data by selling it to third parties.
25           7.      This action arises out of Defendants'              violations of the Electronic
26   Communications Privacy Act of 1986 (ECPA), 18 U.S.C. §§ 2510-2523 and California

27   Consumer Privacy Act of 2018 (CCPA), Cal. Civ. Code § 1798.100.

28
                                              2
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 1                                             PARTIES
 2          8.       Plaintiff Johnny Hart, an individual and citizen of the State of California,
 3   County of Los Angeles. Plaintiff downloaded the Temu App and used/shopped on the App
 4   and/or platform, thereby subjecting Plaintiff to personal and private data misappropriation by

 5   defendant.
            9.       Additional Plaintiffs listed on ATTACHMENT A, are individuals and citizens
 6
     of the United States of America. Plaintiffs downloaded the Temu App and used/shopped on
 7
     the app and/or platform, thereby subjecting Plaintiffs to personal and private data
 8
     misappropriation by defendant.
 9
          10.        Whaleco Inc. d/b/a Temu ("Temu") is, and at all relevant times was, a
10   corporation incorporated in Delaware and headquarter in Boston, Massachusetts. Temu is an
11   online marketplace operated by the Chinese e-commerce company PDD Holdings Inc.
12        11.        PDD Holdings Inc. f/k/a Pinduoduo Inc., is a company that was founded in

13   China in 2015 under the name Pinduoduo. It owns and operates a portfolio of businesses and
     is listed on the Nasdaq exchange in the United States. Among other things, PDD Holdings
14
     Inc., operates the Pinduoduo e-commerce platform that offers products in various categories,
15
     including agricultural produce, apparel, shoes, bags, mother and childcare products, food and
16
     beverage, electronic appliances, furniture and household goods, cosmetics and other personal
17   care, sports and fitness items and auto accessories. It also owns the company that operates the
18   Temu online marketplace. PDD Holdings Inc. was formerly known as Pinduoduo Inc., with
19   headquarters in Shanghai, China. PDD Holdings Inc. claims that in February 2023, it moved

20   its "principal executive offices" from Shanghai, China to Dublin, Ireland. However, it
     continues to have significant operations in China, with multiple subsidiaries located within
21
     China. PDD Holdings Inc. is registered in the Cayman Islands.
22
          12.        Defendants do not function as separate and independent corporate entities.
23
     Defendant Temu is directly controlled by Defendant PDD Holdings Inc. At all relevant times,
24
     Defendant PDD Holdings Inc. has directed the operations of Defendant Temu with respect to
25   the Temu App, and Defendant Temu has reported to Defendant PDD Holdings Inc.
26   Employees from Defendant PDD Holdings Inc. performed work on the Temu App, including
27   software engineers who previously developed the Pinduoduo App for PDD Holdings Inc.

28
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 1   Defendant PDD Holdings Inc. makes key strategy decisions for Defendant Temu, which was
 2   charged with executing such decisions.

 3          13.      Defendants DOES 1 through 100, inclusive, are other possible Defendants
     responsible for the wrongful conduct alleged herein.      The true names and capacities of
 4
     Defendants named herein as DOES 1 through 100, inclusive, whether individual, corporate,
 5
     associate, or otherwise, are unknown to Plaintiffs, who therefore sue such Defendants by such
 6
     fictitious names pursuant to California Code of Civil Procedure § 474. Plaintiffs are informed
 7   and believe that the DOE Defendants are California residents. Plaintiffs will amend their
 8   Complaint to show true names and capacities when they have been determined. Plaintiffs are
 9   informed and believe, and on the basis of such information and belief allege, that each

10   Defendant DOE herein is in some manner responsible for the discrimination, harassment, and
     retaliation against Plaintiffs due to their protected reporting activities, and damages herein
11
     alleged.
12
          14.        Plaintiffs are informed and believe and thereon allege that each Defendant is,
13
     and at all times mentioned was, the agent, employee or representative of each other
14
     Defendant. Each Defendant, in doing the acts, or in omitting to act as alleged in this
15   Complaint, was acting within the scope of his or her actual or apparent authority, or the
16   alleged acts and omissions of each Defendant as an agent were subsequently ratified and
17   adopted by each other Defendant as a principal.

18
                                      FACTUAL ALLEGATIONS
19
          15.        Founded in 2015, PDD H oldings is one of China's largest companies,
20
     generating billions in total value of goods sold. Among other business activities, PDD
21   Holdings operates Pinduoduo, (the "Pinduoduo platform" or "Pinduoduo App") an e-
22   commerce App created in China that offers various consumer products.
23        16.        Defendant PDD Holdings Inc. subsequently developed a second online retail

24   App, and in 2022 launched the Temu App in the United States.

25        17.        The Temu App provides a marketplace for Chinese suppliers to offer their
     products. However, the Temu App also handles delivery, promotion, and after-sales services
26
     for merchants on its platform.
27
          18.        The Temu App was based on the Pinduoduo App, and many of the same
28
     software engineers who developed Pinduoduo also worked on what became the Temu App.
                                              4
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 1        19.        The Temu App/platform became available to consumers in the United States in
 2   late 2022.

 3        20.        Since that time, Defendants have heavily promoted the Temu App throughout
     the United States, through television advertisements, large online ad campaigns, and
 4
     sponsorships.
 5
          21.        As a result of their efforts, by 2023, the Temu App was the most downloaded
 6
     App In the United States amassing millions of U.S. users.
 7
          22.        Analysts have found that Temu App, specifically, uses the allure of
 8   inexpensive Chinese-manufactured goods to entice users into unknowingly providing
 9   unwarranted and extensive access to their private data through deceptive methods.
10

11       A. Concerns Arise Regarding Security of The Temu App/Platform

12        23.        In early to mid-2023, the Temu App and/or platform, along with the popular
13   social media app TikTok was identified as one of the Chinese-affiliated App that poses a

14   significant threat to users' data and privacy.

15
          24.        Concerns also began to emerge after Temu' s precursor platform, the
     Pinduoduo App, was pulled from the Defendants' Play Store due to the presence of malware
16
     that exploited vulnerabilities in Android operating systems. Analysts, including experts for the
17
     Defendants, concluded that the Pinduoduo App was covertly collecting private and personal
18   data from users without their knowledge and consent.
19        25.        In mid-2023, Apple suspended the Temu App from the Apple Store based on
20   the same data privacy concerns. Apple concluded that Temu made misrepresentations
21   regarding the types of data Temu can access and collect from users. Reports indicated that

22   Apple had expressed concerns regarding the Temu App, stating that it did not comply with
     Apple's data privacy standards and that Temu was misleading users about how their data is
23
     utilized.
24
          26.        Such concerns have also been expressed recently by government authorities
25
     who have examined the App. For example, the State of Montana recently banned the Temu
26   App on government devices, along with other Chinese Apps that have engaged in data privacy
27   violations, such as TikTok.
28
                                              5
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 1          27.        In January of 2024, the Arkansas Attorney General sued Temu for deceiving
 2   Arkansans and illegally accessing their personal information and data.

 3          28.        Likewise, U.S. authorities have also raised concerns regarding Temu's data
     practices.
 4
            29.        In April 2023, the U.S.-China Economic and Security Review Commission, a
 5
     government entity established by Congress to investigate, assess, and report annually on the
 6
     national security implications of the economic relationship between the United States and the
 7
     People's Republic of China, issued a report noting the significant data risks associated
 8   specifically with the Temu App.
 9          30.        Subsequently, technical analysts have determined that the Temu App is
10   deemed even more " malicious" than the suspended Pinduoduo App, noting that Temu's data

11   collection scope is extensive, surpassing what is necessary for the functioning of an online
     shopping app.
12
            31.        According to one commentator, aside from Bluetooth and Wi-Fi access, " Temu
13
     gains full access to all your contacts, calendars, and photo albums, plus all your social media
14
     accounts, chats, and texts. In other words, literally everything on your phone.... No shopping
15
     app needs this much control, especially one tied to Communist China."
16

17      B. Temu Violates Users Data Privacy Rights in Multiple Ways.
18
                  1. The Scope of Data Collected
19
            32.        First, analysts have observed that the scope of the data collected by Temu is
20
     sweeping and goes well beyond the scope of the data that is needed to run an online shopping
21   app.
22          33.        In addition to Bluetooth and Wi-Fi access, "Temu gains full access to all your
23   contacts, calendars, and photo albums, plus all your social media accounts, chats, and texts. In
24   other words, literally everything on your phone.."

25          34.        Additionally, it is alleged that the Temu App " bypasses" phone security
     systems to read a user's private messages, make changes to the phone's settings and track
26
     notifications.
27
            35.        In September of 2023, one technical investigation of the app published by an
28
     analyst firm, concluded that the "TEMU app is purposefully and intentionally loaded with
                                               6
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 1   tools to execute virulent and dangerous malware and spyware activities on user devices which
 2   have downloaded and installed the TEMU app." 1

 3         36.        The analysis went so far as to claim that Defendant PDD Holdings was a
     "fraudulent company" and that "its shopping app TEMU is cleverly hidden spyware that poses
 4
     an urgent security threat to U.S. national interests."
 5
           37.        Among the primary findings of the report were the following:
 6
                      a. " The app has hidden functions that allow for extensive data exfiltration
 7                         unbeknown to users, potentially giving bad actors full access to almost all
 8                         data on customers' mobile devices."
 9                    b. "Great efforts were taken to intentionally hide the malicious intent and
10                         intrusiveness of the software."

11
                      c. "We engaged numerous independent data security experts to decompile and
                           analyze TEMU app' s code, integrated with experts of our own staff, and
12
                           analysts who have written independently in the public domain."
13
                      d. "Contributing to the danger of mass data exfiltration is the fast uptake rate
14
                           of the TEMU app: over 100 million app downloads in the last 9 months, all
15                         in U.S. and Europe. TEMU is not offered in China."
16                    e. "The TEMU app development team includes 100 engineers who built the
17                         Pinduoduo app, which earned a suspension from the Defendants Play

18                         Store."
                      f. "Pinduoduo app got reinstated by removing the 'bad parts,' some o f which
19
                           were identically utilized as components of the TEMU app, strongly
20
                           indicating malicious intent."
21
                      g. "We strongly suspect that TEMU is already, or intends to, illegally sell
22                         stolen data from Western country customers to sustain a business model
23                         that is otherwise doomed for failure. "
24         38.        Additionally, the analysis concluded that the Temu App contains malware,

25   spyware, and other means to "plunder" user data: "TEMU has laid an extensive software

26
     1
      See "We believe PDD is a Dying Fraudulent Company and its Shopping App TEMU is Cleverly Hidden
27   Spyware that Poses an Urgent Security Threat to U.S. National Interests" found at: _
                                                                                        https://grizzlyreports.com/we-
                                                                                            _ _ _ _ _ _ __
     believe-pdd-is-a-dying-fraudulent-company-and-its-shopping-app-temu-is-cleverly-hidden-spyware-that-poses-
28   an-urgent-security-threat-to-u-s-national-interests/

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 1   foundation to recklessly plunder its customers' data. Our staff analysis, verified by numerous
 2   expert confirmations, both proprietary experts we hired, plus those independently published in

 3
     the public domain, find malware, spyware, and several levels of exceptionally threatening
     software behavior."
 4
           39.       The analysis further found that the Temu App has the capability to hack users'
 5
     phones and override data privacy settings that users have purposely set to prevent their data
 6
     from being accessed.
 7         40.       Technical analysis of the Temu App found "all the signs of red -flag concern,"
 8   noting that "[t]he calls to outside device data and functions that violate users' privacy are far
 9   more aggressive than any well-known consumer shopping app."
10         41.       Further analysis found "a stack of software functions that are completely

11   inappropriate to and dangerous in this type of software."
           42.       For example, the "TEMU app is referencing systems data outside the bounds of
12
     TEMU's own app. TEMU seemingly reads the user's system logs. This gives TEMU the
13
     ability to track user actions with other apps running on the user's device."
14
           43.       It is believed that the Temu App also collects identifying information unique to
15
     a user's device. Specifically, "TEMU asks for the MAC address, and other device
16   information, and inserts it into a JSON object to be sent to the server."
17         44.       The Temu App also has the capability to take screenshots of users phones and
18   store those to a file.

19         45.       The Temu also has the ability to read and transmit files on the user' s system
     "with little or no encryption."
20
           46.       The Temu can access users' cameras and microphones whenev er the app is
21
     running, such a function provides a means by which the Temu App can surreptitiously collect
22
     user biometric data and information such as video, facial image, and voiceprint data.
23
           47.       Many of the categories of data and information collected by Defendants are
24   particularly sensitive. For example, in addition to highly sensitive biometric information
25   discussed below, Defendants also collect physical and digital location tracking data that is
26   highly invasive of Temu users' privacy rights. "Location data is among the most sensitive

27   personal information that a user can share with a company . . . Today, modern smartphones
     can reveal location data beyond a mere street address. The technology is sophisticated enough
28
                                             8
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 1   to identify on which floor of a building the device is located." Over time, location data reveals
 2   private living patterns of Temu users, including where they work, where they reside, where

 3
     they go to school, and when they are at each of these locations. Location data, either standing
     alone, or combined with other information, exposes deeply private and personal information
 4
     about Temu users' health, religion, politics and intimate relationships.
 5
          48.       The Temu data collection begins as soon as the app is downloaded. As reported
 6
     in a recent technical report : '"TEMU sends a lot of detailed user and system data elements as
 7   soon as the app is loaded.' The user's system gets queried in detail, so all that information is
 8   available to send to TEMU servers. (As noted above, this includes the device's unique MAC
 9   address.) No user permission is required to gather any of this category of information." Temu

10   contains "a complete arsenal of tools to exfiltrate virtually all the private data on a user's
     device and perform nearly any malign action upon command trigger from a remote server."
11
          49.       Additionally, individuals who are not Temu users and have never signed up for
12
     the platform may also be adversely impacted. Unbeknownst to them, non-users who engage in
13
     electronic communications with Temu users, such as through email or text messages, may
14
     have their private communications subject to harvesting by Defendants who have broad
15   access to Temu users' devices.
16

17        2. The Surreptitious Nature of The Apps Data Mining.

18        50.       The Temu App contains technology (encrypt, decrypt or shift integer signals)
19   that obscures the source code and system calls so that intrusive and dangerous calls are harder
20   to detect when an app store or others perform security scans. In addition, the Temu App

21
     contains a runtime.exec() function that allows Temu to get com piled code onto the user's
     system at runtime that has not been seen by any security detection scans. These features alone
22
     demonstrate that the Temu App is purposefully designed to be "very virulent
23
     malware/spyware."
24
          51.       Issues uncovered with the app "occur in parts of the code that are proprietary,
25   obscured, and/or from a code library rarely used, poorly programmed by a niche company."
26   This is inconsistent with common practice and appears to be designed to obscure the
27   dangerous features of the app so that they will not be disclosed to the public and will avoid

28   scrutiny by the app stores that provide the app to the public.

                                            9
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 1        52.       For example, a technical analysis found a "package compile" function that was
 2   "not visible to security scans before or during installation of the app, or even with elaborate

 3   penetration testing." As a result, "TEMU's app could have passed all the tests for approval
     into the Defendants' Play Store, despite having an open door built in for an unbounded use of
 4
     exploitative methods."
 5
          53.       In addition, the Temu App seeks to obscure the permissions that are given to
 6
     the app to access information on users' phones. "[M]any of these permissions in TEMU' s
 7   source code are not listed in their Android Manifest file, which is the standardized overview
 8   source for an app."
 9        54.       The Temu App deceptively requests permissions in ways that do not clearly
10   inform users that they are providing certain permissions to the App. Accordingly, because the

11   Temu App "masks its intentions" by using such deceptive means, "You wouldn't su spect that
     the TEMU app contains a full stack of malware/spyware tools to do just about anything it
12
     wants with your phone and get nearly anything stored on it sent to its own servers in the
13
     background."
14
          55.       The Temu App also contains functions to alert the App if a debugger is
15   engaged. Such a feature is likely incorporated into the App "to obstruct or obscure analysis of
16   the app, and most likely to change app behavior if an analyst is inspecting it dynamically."
17

18        3. Temu Subjects User Data To Misappropriation By Chinese Authorities.

19        56.       The data privacy violations documented with the Temu App are particularly
20   concerning not only because they subject user data to unauthorized collection and potential

21   sale to third parties, but also because Temu's parent is a China -based company that is subject
     to Chinese law that requires companies to provide user data to the government upon request.
22
     As a technical analysis of the Temu App has noted, "Your personal data - much more than
23
     you ever assumed      is resold indiscriminately for marketing purposes, and in all probability
24
     available to Chinese Security authorities for data mining purposes. Chinese Government
25   security agents or their AI computers might be looking at what products you or your family
26   buy on TEMU as a source of lever age, influence, manipulation, 'cross -border remote justice',
27   surveillance, or more."

28
                                            10
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 1        57.       As experts and government authorities have repeatedly observed, under
 2   applicable law, user data owned by Chinese companies is available on command to officials

 3   of the Chi nese communist government. The Chinese government's ongoing efforts to acquire
     such private user data from American citizens          both legally and illegally are well
 4
     documented.
 5
          58.       As U.S. Senators have explained, "Security experts have voiced concerns that
 6
     China' s vague patchwork of intelligence, national security, and cybersecurity laws compel
 7   Chinese companies to support and cooperate with intelligence work controlled by the Chinese
 8   Communist Party."
 9        59.       Inherent in Chinese ownership of companies collecting American users'
10   private and personally identifiable information. During the broadcast, among other things, a

11   former member of the U.S. intelligence community observed that what makes the possession
     of U.S. user data by China-affiliated companies "particularly concerning" is that "[t]he
12
     Chinese have fused their government and their industry together so that they cooperate to
13
     achieve the ends of the state." As Senator Hawley observed during the broadcast, for example,
14
     the Chinese-owned parent company of TikTok had an express legal obligation to share such
15   private user data with the Chinese government: "under Chinese law, Tik:Tok, ByteDance, the
16   parent, is required to share data with the Chinese Communist Party"; "all it takes is one knock
17   on the door of their parent company, based in China, from a Communist Party official for that

18   data to be transferred to the Chinese government's hands, whenever they need it."

19
          60.       In testimony given to Congress in November 2022, FBI Director Christopher
     Wray reiterated these concerns, noting that Chinese law requires Chinese companies to "do
20
     whatever the government wants them to in terms of sharing information or serving as a tool of
21
     the Chinese government. And so that's plenty ofreason by itself to be extremely concerned."
22
          61.       China-based companies are required by law to secretly provide consumer data
23   to the government upon demand.
24        62.       The message contained in each of China's state security laws passed since the
25   beginning of 2014 is clear: everyone is responsible for the party-state's security. According to

26   the CCP's definition of state security, "the Party's political leadership is central..." And the
     party expects Chinese people and citizens to assist in collecting intelligence. The Intelligence
27
     Law states "any organization and citizen shall, in accordance with the law, support, provide
28
                                            11
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 1   assistance, and cooperate in national intelligence work, and guard the secrecy of any national
 2   intelligence work that they are aware of... " Not only is everyone required to participate in

 3
     intelligence work when asked, but that participation must be kept secret.

 4
     C. Temu Uses Unfair Business Practices to Get Users to Engage with the App.
 5

 6
          63.       Defendants actively utilize manipulative and deceptive practices in order to
     maximize the number of users who sign up to use the app, thereby maximizing the amount of
 7
     data that Defendants can misappropriate. According to one commentator, "TEMU is a
 8
     notoriously bad actor in its industry. We see rampant user manipulation, chain-letter-like
 9
     affinity scams to drive signups, and overall, the most aggressive and questionable techniques
10   to manipulate large numbers of people to install the app."
11        64.       Defendants seek to induce users to sign up for the Temu App with the promise
12   of low-cost, high-quality goods manufactured in China. Defendants underscore this aspect of

13   the platform through a variety of mechanisms such as pop-ups with wheels to spin for
     discounts, tokens to collect, and countdown clocks.
14
          65.       These tactics have been wildly successful: "PDD's TEMU online marketplace
15
     is being reported as among the fastest uptaken apps in history."
16
          66.       These practices have allowed Defendants to maximize their access to user data
17
     through the false promise of low-cost, high-quality goods. Moreover, they further demonstrate
18   that Defendants' real business is not providin g a platform for the sale of quality merchandise,
19   but rather obtaining access to user data under false pretenses, which they then misappropriate
20   and seek to monetize.

21        67.       Defendants utilize additional deceptive marketing techniques to induce users to
     sign up for the platform and grant Defendants access to user data. For example, Defendants
22
     run what has been described as an "affinity scam" or "chain letter" like tactic where users are
23
     repeatedly urged to sign up their friends and acquaintances in order to expand the number of
24
     users whose data Defendants may then access through the App.
25
          68.       Among other things, Temu offers credit and free items to users who get their
26   friends and acquaintances to sign up for the app. "Those who do register are subjected to a
27   bombardment of emails and app notifications."
28
                                            12
                [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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 1           69.      " Once you give TEMU your personal information, you will be repeatedly
 2   spammed, hounded, nagged, and bribed to get your friends and family to give TEMU their

 3   personal information. When users fall down this rabbit hole (getting that Nintendo Switch
     absolutely free), TEMU sends a torrent of popup sequences milking users for 'just one more
 4
     contact'."
 5
             70.      In addition, Temu users are bombarded by notifications and spam from third
 6
     parties other than Defendants. These emails and notifications occur even after users delete the
 7   app from their devices and even when users seek to block such notifications.
 8           71.      Moreover, T emu has utilized online "influencers" to harvest new users on an
 9   even larger scale. "There are now literally thousands of so -called 'influencers' hawking
10   TEMU referrals on Reddit, YouTube, TikTok, and also Minecraft, Roblox, Discord ... the

11   pitch is: 'You don't have to buy anything, just sign up!"' "If you have a social media
     presence, TEMU will figure that out and will start to spam you    every day    to induce you to
12
     create videos promoting TEMU, for which they promise to pay."
13
             72.      Defendants attract and maintain users through other fraudulent means. For
14
     example, "TEMU ... compensates users to write reviews," which are then "obviously skewed
15   positive." Moreover, reviews are categorized in a deceptive manner with reviews
16   characterized as "five stars" positive reviews when in reality they contain extremely negative
17   comments about the platform.

18           73.      Finally, as illustrated by its gamified nature, Temu is designed to be highly

19   addictive. As one report notes, "[t]he app successfully keeps people hooked. The average user
     spends around 28 minutes a day on the app, according to Sensor Tower, nearly double the 16
20
     minutes spent on Amazon." The more time users spend on the app, the more data is available
21
     for covert collection by Defendants in violation of users' right to privacy in their personal
22
     data.
23           74.      As one analysis observes, the addictive tactics extend not only to users
24   continued use of the platform, but also inducing individuals to sign up for the app: "Your
25   behavior will be categorized and siloed. If these kinds of inducements exert an addictive pull

26   on your brain, AI pattern recognition will guarantee you will see a lot more of them."

27

28
                                               13
                   [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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 1   C. Plaintiffs' Have Been Harmed by Temu's Violations.
 2        75.          The United States Supreme Court has recognized that, in contemporary
 3   society, cell phones are so ubiquitous and inextricably intertwined with the user's personal
 4   privacy that the devices have become "almost a 'feature of human anatomy."' Carpenter v.

 5   United States, 138 S. Ct. 2206, 2218 (2018) (quoting Riley v. California, 573 U.S. 373, 385
     (2014)).
 6
          76.          As a result of their multiple violations of users' data privacy, Defendants
 7
     possess identifying information, biometric identifiers and information, and other data
 8
     sufficient to create a file of private and personally identifiable data and content for Plaintiffs.
 9
     Such files can be supplemented over time with additional private and personally identifiable
10   user data and content, and all of this private and personally identifiable data and information
11   has been, is, and will be used in the past, the present, and the future for economic and
12   financial gain.

13        77.          Meanwhile, Plaintiffs have incurred, and continue to incur, harm as a result of
     the invasion of privacy stemming from Defendants' possession of their private and personally
14
     identifiable data and content        including their user identifiers, biometric identifiers and
15
     information, and other data.
16
          78.          Plaintiffs have suffered and continue to suffer harm in the form of diminution
17
     of the value of their private and personally identifiable data and content as a result of
18   Defendants' surreptitious and unlawful activities.
19        79.          Plaintiffs have a reasonable expectation of privacy in the private and personally
20   identifiable data and content on their mobile devices.

21        80.          Through the unauthorized collection of their data, Plaintiffs' may have suffered
     additional injuries. The data collected from Temu users by these unauthorized means can be
22
     misused by Defendants themselves in ways that are not authorized, including the information
23
     being sold or given to unauthorized third parties without the consent of Plaintiffs.
24
          81.          Temu users may be subjected to additional injuries, including the provision or
25
     sale of their data to unauthorized third parties or the use of their data in ways that users did not
26   authorize by Defendants themselves.
27

28
                                            14
                [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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 1                                   FIRST CAUSE OF ACTION
 2      VIOLATION OF THE ELECTRONIC COMMUNICATIONS PRIVACY ACT OF

 3                                            1986 (ECPA),
                                       18 U.S.C. §§ 2510 ET SEQ.
 4
                                 (All Plaintiffs Against All Defendants)
 5
          82.       Plaintiffs reallege and incorporate by reference, as through fully set forth
 6
     herein, each and every allegation set forth above.
 7        83.       The Electronic Communications Privacy Act of 1986, 18 U.S.C. §§ 2510, et
 8   seq., prohibits the interception of any wire, oral, or electronic communications without the
 9   consent of at least one authority party to the communication. The statute confers a civil cause
10   of action on "any person whose wire, oral, or electronic communication is intercepted,

11
     disclosed, or intentionally used in violation of this chapter." (see; 18 U.S.C. § 2510(4)).
          84.       "Intercept" is defined as "the aural or other acquisition of the contents of any
12
     wire, electronic, or oral communication through the use of any electronic, mechanical, or
13
     other device." (see; 18 U.S.C. § 2510(4)).
14
          85.       "Contents" is defined as "includ[ing] any information concerning the
15   substance, purport, or meaning of that communication." (see; 18 U.S.C. § 2510(4)).
16        86.       "Person" is defined as "any employee, or agent of the United States or any
17   State or political subdivision thereof, and any individual, partnership, association, joint stock
18   company, trust, or corporation." (see; 18 U.S.C. § 2510(4)).

19        87.       "Electronic communication" 1s defined as "any transfer of signs, signals,
     writing, images, sounds, data, or intelligence of any nature transmitted in whole or in part by a
20
     wire, radio, electromagnetic, photoelectronic or photo optical system that affects interstate or
21
     foreign commerce" (see; 18 U.S.C. § 2510(4)).
22
          88.       For the purposes of the ECPA, Defendants, as a corporation are each defined as
23
     a " person "
24        89.       The Temu App/platform was designed with malware written into its code that
25   secretly accesses texts, emails and other content on users' computers, phones and/or mobile
26   devices, each constituting a "device or apparatus."

27        90.       Defendants used the Temu app/platform to intercept wire, oral, or electronic
     communication through electronic means on users' devices.
28
                                            15
                [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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 1        91.        For the purposes of 18 U.S.C. § 2510(12), Plaintiffs' texts, emails, electronic
 2   interactions with others on social media and websites, sensitive personal information, and

 3   data, and interactions with other individuals and websites are " electronic communication(s) "

 4
          92.        Through the Temu App/platform Defendants surreptitiously intercepted
     plaintiffs ' "electronic communication[ s]".
 5
          93.        Plaintiffs have an expectation of privacy in such communications, and
 6
     exercised a reasonable expectation of privacy concerning the transmission of those messages,
 7
     and reasonably believed that their electronic communications were not being intercepted,
 8   recorded, copied, disseminated, and/or misappropriated.
 9        94.        Plaintiffs' electronic communications were intercepted during transmission,
10   without their consent and for the unlawful and/or wrongful purpose of monetizing private

11   information and data, including by using their private information and data to develop
     marketing and advertising strategies and utilizing user data for other commercial advantage.
12
          95.        Defendants were not parties to Plaintiff's communications.
13
          96.        Defendants are sophisticated parties, who at all relevant times knowingly,
14
     willfully and intentionally intercepted Plaintiffs electronic communications through the Temu
15
     App/platform.
16        97.        Plaintiffs did not consent to Defendants' interception, disclosure, use and/or
17   misuses and misappropriation of their electronic communications.
18        98.        Defendants violated 18 U.S.C. § 2511(1)(a) by intentionally intercepting,
19   and/or attempting to intercept, messages transmitted by Plaintiffs who have used the Temu

20   app/platform.
          99.        Defendants violated 18 U.S.C. § 2511(1)(a), by using Plaintiffs' intercepted
21
     communications and data intentionally for corporate gain and profit.
22
          100.       Defendants were unjustly enriched by their unauthorized interception of
23
     Plaintiffs' electronic communications.
24
          101.       Defendants violated 18 U.S.C. § 2511(1)(a), by making Plaintiffs'
25   communications accessible by third parties, including the Chinese Communist Party and
26   foreign governmental entities whose interests are opposed to those of United States citizens.
27

28
                                             16
                 [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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 1        102.      Plaintiffs suffered and will continue to suffer damages including but not
 2   limited to loss of their information and loss of money and costs incurred, all of which have

 3   ascertainable value to be proven at trial.

 4
          103.      Pursuant to 18 U.S.C. § 2520, Plaintiffs have been damaged by the
     interception, disclosure, and/or use of their communications in violation of the ECPA and are
 5
     each entitled to: (1) appropriate equitable or declaratory relief; (2) damages, in an amount to
 6
     be determined at trial, assessed as the greater of (a) the sum of the actual damages suffered by
 7   Plaintiffs and any profits made by Defendants as a result of the violation, or (b) statutory
 8   damages of whichever is the greater of $100 per day per violation or $10,000; and (3)
 9   reasonable attorneys' fees and other litigation costs reasonably incurred.
10

11                                  SECOND CAUSE OF ACTION
                 VIOLATION OF THE COMPUTER FRAUD AND ABUSE ACT,
12
                                             18 U.S.C. §§ 1030
13
                                 (All Plaintiffs Against All Defendants)
14
          104.      Plaintiffs reallege and incorporate by reference, as through fully set forth
15   herein, each and every allegation set forth above.
16        105.      The Computer Fraud and Abuse Act, 18 U.S.C. § 1030, referred to as "CFAA,"
17   regulates fraud and related activity in connection with computers, and makes it unlawful to

18   intentionally access a computer used for interstate commerce or communication, without
     authorization or by exceeding authorized access to such a computer, thereby obtaining
19
     information from such a protected computer, within the meaning of U.S.C. § 1030(a)(2)(C).
20
          106.       18 U.S.C. § 1030(a)(5)(A)(i) makes it unlawful to "knowingly cause the
21
     transmission of a program, information, code, or command and as a result of such conduct,
22
     intentionally cause damage without authorization, to a protected computer," of a loss to one or
23   more persons during any one-year period aggregating at least $5,000 in value.
24        107.       18 U.S.C. § 1030(g) provides a civil cause of action to "any person who suffers
25   damage or loss by reason of a violation of CFAA."

26        108.      Defendants violated 18 U.S.C. § 1030 by intentionally accessing Plaintiffs

27   computers without authorization or by exceeding authorization, and by obtaining information
     from a protected computer.
28
                                             17
                 [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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 1        109.      Plaintiffs' computer, smartphone, and/or mobile devices, such as a tablet or
 2   iPad 1s a "protected computer . . . which 1s used m interstate commerce and/or

 3   communication" within the meaning of 18 U.S.C. § 1030(e)(2)(B).

 4
          110.      Defendants violated 18 U.S.C. § 1030(a)(5)(A)(i) by knowingly causing the
     transmission of data and programs on Plaintiffs' protected computers.
 5
          111.      Defendants violated 18 U.S.C. § 1030(a)(5)(A)(i) by storing sniffing code to
 6
     access, collect, and transmits details of Plaintiffs' web activities and communications .
 7
          112.      Defendants violated 18 U.S.C. § 1030(a)(5)(A)(ii) by intentionally accessing
 8   Plaintiffs' protected computers without authorization, and as a result of such conduct,
 9   recklessly caused damage to Plaintiffs' computers by weakening the integrity of data and/or
10   system and/or information stored on Plaintiffs protected computers.

11        113.      Defendants violated 18 U.S.C. § 1030(a)(5)(A)(ii) by surreptitiously installing
     dangerous malware and spyware onto Plaintiffs protected computers causes the Plaintiffs to
12
     suffer damage through the "impairment to the integrity or availability of data, a program, a
13
     system or information."
14
          114.      Defendants'    unlawful access to Plaintiffs'        computers and electronic
15
     communications has caused Plaintiffs irreparable injury.
16        115.      Plaintiffs have suffered loss, as defined in 18 U.S.C. § 1030(e)(11). In
17   expending "reasonable cost" associated with Plaintiffs responding to the violating offense,
18   conducting a damage assessment, and restoring the data, program, system, or information to

19   its condition prior to the offense, and any revenue lost, cost incurred, or other consequential
     damages incurred because of interruption of service or the data breach.
20
          116.      Plaintiffs have suffered damages by reason of Defendants                violations,
21
     including, without limitation, violation of the right of privacy, and disclosure of personal
22
     information that is otherwise private, confidential, and not of public record.
23
          117.      As a result of Defendants ' condu ct, Plaintiffs have suffered loss and damages
24   during any one-year period aggregating at least $5,000 in real economic damages.
25

26

27

28
                                             18
                 [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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 1                                     THIRD CAUSE OF ACTION
 2      VIOLATION OF THE CALIFORNIA COMPREHENSIVE DATA ACCESS AND

 3                                             FRAUD ACT,
                                          CAL. PEN CODE. § 502
 4
                             (All California Plaintiffs Against All Defendants)
 5
             118.      Plaintiffs reallege and incorporate by reference, as through fully set forth
 6
     herein, each and every allegation set forth above.
 7           119.      Cal. Penal Code § 502 provides: "For purposes of bringing a civil or a criminal
 8   action under this section, a person who causes, by any means, the access of a computer,
 9   computer system, or computer network in one jurisdiction from another jurisdiction is deemed
10   to have personally accessed the computer, computer system, or computer network in each

11
     jurisdiction." Smart phone devices with the capability of using web browsers are "computers"
     within the meaning of the statute.
12
             120.      Defendants violated Cal. Penal Code § 502(c)(2) by knowingly accessing and
13
     without permission taking, copying, analyzing, and using Plaintiffs' "computer" browsing
14
     data.
15           121.      Defendants were unjustly enriched when it surreptitiously acquired Plaintiffs'
16   sensitive and valuable personal information without permission and used it for Defendants
17   financial benefit.

18           122.      Plaintiffs retain a stake in the profits Defendants earned from their personal

19   data, as under the circumstances, it is unjust for the Defendants to retain those profits.
             123.      Defendants accessed, copied, took, analyzed, and used data from Plaintiffs'
20
     computers in and from the State of California, where the Defendants used servers that
21
     provided communication links between Plaintiffs' devices and the Defendants , which
22
     allowed the Defendants to access and obtain Plaintiffs' data. Accordingly, the Defendants
23   caused the access of Plain tiffs' computers from California, and is therefore deemed to have
24   accessed Plaintiffs' computers in California.
25           124.      As a direct and proximate result of the Defendants unlawful conduct within
26   the meaning of Cal. Penal Code § 502, the Defendants have caused actual losses to Plaintiffs

27   and has been unjustly enriched in an amount to be proven at trial.

28
                                                19
                    [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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 1        125.       Plaintiffs seek compensatory damages and/or disgorgement of profits in an
 2   amount to be proven at trial.

 3        126.       Plaintiffs are entitled to exemplary damages pursuant to Cal. Penal Code §
     502(e)(4) because the Defendants violations were willful and, upon information and belief,
 4
     the Defendants are guilty of oppression, fraud, or malice as defined in Cal. Civil Code § 3294.
 5
          127.       Plaintiffs are also entitled to recover their reasonable attorneys' fees pursuant
 6
     to Cal. Penal Code § 502(e).
 7

 8                                   FOURTH CAUSE OF ACTION
 9            VIOLATION OF THE CALIFORNIA INVASION OF PRIVACY ACT,
10                               CAL. PENAL CODE §§ 630, ET SEQ.

11                         (All California Plaintiffs Against All Defendants)
          128.       Plaintiffs reallege and incorporate by reference, as through fully set forth
12
     herein, each and every allegation set forth above.
13
          129.       The California Invasion of Privacy Act ("CIP A") is codified at Cal. Penal Code
14
     §§630 to 638.
15
          130.       The California Legislature enacted the California Invasion of Privacy Act, Cal.
16   Penal Code §§ 630, et seq. ("CIPA") finding that "advances in science and technology have
17   led to the development of new devices and techniques for the purpose of eavesdropping upon
18   private communications and that the invasion of privacy resulting from the continual and

19   increasing use of such devices and techniques has created a serious threat to the free exercise
     of personal liberties and cannot be tolerated in a free and civilized society." Id. § 630. Thus,
20
     the intent behind CIPA is "to protect the right of privacy of the people of this state." Id.
21
          131.       Cal. Pen. Code§ 631(a) imposes liability upon: "Any person who, by means of
22
     any machine, instrument, or contrivance, or in any other manner . . . willfully and without the
23
     consent of all parties to the communication, or in any unauthorized manner, reads, or attempts
24   to read, or to learn the contents or meaning of any message, report, or communication while
25   the same is in transit or passing over any wire, line, or cable, or is being sent from, or received
26   at any place within this state; or who uses, or attempts to use, in any manner, or for any

27   purpose, or to communicate in any way, any information so obtained, or who aids, agrees

28
                                             20
                 [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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 1   with, employs, or conspires with any person or persons to lawfully do, or permit, or cause to
 2   be done any of the acts or things mentioned above in this section ..."

 3        132.      Cal. Pen. Code § 632(a) imposes liability upon: "A person who, intentionally
     and without the consent of all parties to a confidential communication, uses an electronic
 4
     amplifying or recording device to eavesdrop upon or record the confidential communication,
 5
     whether the communication is carried on among the parties in the presence of one another or
 6
     by means of a telegraph, telephone, or other device, except a radio."
 7        133.      Plaintiffs have an expectation of privacy in their private and personally
 8   identifiable data and information, and they exercised a reasonable expectation of privacy
 9   concerning the transmission of such information.
10        134.      Under either section of the CIPA quoted above, a defendant must show it had

11   the consent of all parties to a communication. However, without the consent of either the
     sender or recipient, Defendants intercepted and recorded messages and electronic
12
     communications transmitted using the Temu App/platform without Plaintiffs' consent or
13
     knowledge.
14
          135.      Defendants knowingly and intentionally used and continue to use the Temu
15   App/platform and associated servers and other computer devices, to read, attempt to read,
16   learn, attempt to learn, eavesdrop, record, and/or use electronic communications containing
17   private data from Plaintiffs, these electronic communications were and are in transit,

18   originating in or sent to California, and without the authorization or consent of Plaintiffs.

19        136.      Acts by Defendants in violation of the CIPA occurred in the State of California
     because those acts resulted from business decisions, practices, and operating policies that
20
     Defendants developed, implemented, and utilized in the State of California and which are
21
     unlawful and constitute criminal conduct in the state of California.
22
          137.      Defendants profited and continue to profit in the State of California as a result
23   of these repeated and systemic violations of CIPA. Defendants' unlawful conduct, which
24   occurred in the State of California, harmed and continues to harm Plaintiffs.
25        138.      The communications intercepted by Defendants include "contents" of
26   electronic communications exchanged between Plaintiffs, on the one hand, and third parties

27   through shared communications.

28
                                             21
                 [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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 1        139.      Defendants recorded and stored such private message content, separate from
 2   the process of transmitting the message to the intended recipient.

 3        140.      Defendants purposefully designed the Temu app/platform in a way that they
     knew Plaintiffs' privacy rights would be violated, in that their mes sages would be unlawfully
 4
     intercepted and recorded.
 5
          141.      Under Cal. Penal Code § 631(a) The following constitute "machine[s],
 6
     instrument[s], or contrivance[s] : (a) Plaintiffs personal computing devices; (b) the computer
 7
     codes and programs Defendants used to effectuate the interception of communications; (c)
 8   Defendants' servers; (d) and the plan Defendants carried out to effectuate the interception of
 9   the communications that were exchanged with Plaintiffs'.
10        142.      In the alternative, Defendants' purposeful scheme tha t facilitated its

11   interceptions falls under the broad statutory catch-all category of"any other manner".

12
          143.      The    private    data   Defendants      collected    constitutes   "confidential
     communications," as that term is used in Cal. Pen. Code § 632(a), because Plaintiffs h ave an
13
     objectively reasonable expectation of privacy in their communications.
14
          144.      Plaintiffs did not consent to Defendants' interception, disclosure, and/or use of
15
     their electronic communications.
16        145.      The unauthorized interceptions described herein are not covered by any
17   business exception because the interceptions were not required to facilitate the
18   communications.

19        146.      Plaintiffs have suffered actual losses by reason of these violations, including,

20   but not limited to, violation of their rights to privacy and loss of value in their personally
     identifiable information.
21
          147.      Plaintiffs have a property right in their private communications, videos and
22
     messages such that interception of those messages violated those rights and therefore caused
23
     them injuries and damages.
24
          148.      Plainti ffs suffered further economic injury as a result of Defendants' unlawful
25   and unauthorized interceptions and recordings of communications. The battery, memory, CPU
26   and bandwidth of their cellular devices have been compromised and they incurred additional
27   data and electricity costs that they otherwise would not have.

28
                                             22
                 [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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 1         149.      Pursuant to Cal. Pen. Code § 637.2, Plaintiffs have been injured by the
 2   violations of Cal. Pen. Code §§ 631, 632, and each seeks damages for the greater of $5,000 or

 3   three times the amount of actual damages, as well as injunctive or other equitable relief.

 4
           150.      Plaintiffs have also suffered irreparable injury from these unauthorized acts of
     disclosure; their personal, private, and sensitive data have been collected, viewed, accessed,
 5
     stored, and used by Defendants, and have not been destroyed. Due to the continuing threat of
 6
     such injury, Plaintiffs have no adequate remedy at law. Plaintiffs are entitled to injunctive
 7   relief.
 8                                   FIFTH CAUSE OF ACTION
 9             VIOLATION OF THE CALIFORNIA UNFAIR COMPETITION LAW,
10                         CAL. BUS. & PROF. CODE. §§ 17200 ET SEQ.

11                         (All California Plaintiffs Against All Defendants)
           151.      Plaintiffs reallege and incorporate by reference, as through fully set forth
12
     herein, each and every allegation set forth above.
13
           152.      California Unfair Competition Law (UCL) prohibits any "unlawful, unfair, or
14
     fraudulent business act or practice and unfair, deceptive, untrue or misleading advertising."
15   Cal. Bus. & Prof. Code § 17200.
16         153.      The Defendants' "unlawful" acts and practices include its violation of the
17   Federal Wiretap Act, 18 U.S.C. § 2510, et seq.; the California Invasion of Privacy Act, Cal.
18   Penal Code §§ 631 and 632; the California Computer Data Access and Fraud Act, Cal. Penal

19   Code § 502, et seq.; and Invasion of Privacy.
           154.      The Defendants conduct violated the spirit and letter of these laws, which
20
     protect property, economic and privacy interests and prohibit unauthorized disclosure and
21
     collection of private communications and personal information.
22
           155.      The Defendants" "unfair" acts and practices include its violation of pr operty,
23
     economic and privacy interests protected by the statutes identified above.
24         156.      Plaintiffs have suffered injuries-in-fact, including the loss of money and/or
25   property as a result of the Defendants' unfair and/or unlawful practices. Plaintiffs have
26   suffered unauthorized disclosure and taking of their personal information which has value, as

27   demonstrated by its use and sale by the Defendants

28
                                              23
                  [UNLIMITED] COMPLAINT FOR DAMAGES DEMAND FOR JURY TRIAL
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 1        157.      Plaintiffs have suffered harm in the form of diminution of the value of their
 2   private and personally identifiable data and content.

 3        158.      The Defendants' actions caused damage to, and loss of, Plaintiffs' property
     right to control the dissemination and use of their personal information and communications.
 4
          159.      The Defendants reaped unjust profits and revenues in violation of the UCL.
 5
     This includes the Defendants profits and revenues from their targeted-advertising. Plaintiffs
 6
     seek restitution and disgorgement of these unjust profits and revenues.
 7

 8                                    SIXTH CAUSE OF ACTION
 9             VIOLATION OF THE CALIFORNIA FALSE ADVERTISING LAW,
10                          CAL BUS. & PROF. CODE. §§ 17500 ET SEQ.

11                         (All California Plaintiffs Against All Defendants)
          160.      Plaintiffs reallege and incorporate by reference, as through fully set forth
12
     herein, each and every allegation set forth above.
13
          161.      California's False Advertising Law (the "FAL" ) - Cal. Bus. & Prof. Code §§
14
     17500, et seq. - prohibits "any statement" that is "untrue or misleading" and made "with the
15
     intent directly or indirectly to dispose of' property or services.
16        162.      Defendants'     advertising    and    other   statements   regarding    the   Temu
17   App/platform are, and at all relevant times were, highly misleading.
18        163.      Defendants do not disclose at all, or do not meaningfully disclose, the private

19   and personally identifiable data and content         including user/device identifiers, biometric
     identifiers and information, electronic communications, and private data and information
20
     that they have collected and transferred from the Plaintiffs' devices and computers. Nor do
21
     Defendants disclose that the Plaintiffs' private and personally identifiable data and con tent
22
     have been made available to the Chinese Communist Party and foreign government entities.
23
          164.      Reasonable consumers, like the Plaintiffs , are       and at all relevant times were
24   - likely to be misled by Defendants' misrepresentations.
25        165.      Reasonable consumers la ck the means to verify Defendants' representations
26   concerning their data and content collection and use practices, or to understand the fact or

27   significance of Defendants' data and content collection and use practices.

28
                                             24
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 1        166.      Plaintiffs have been harmed and have suffered economic injury as a result of
 2   Defendants' misrepresentations. First, they have suffered harm in the form of diminution of

 3   the value of their private and personally identifiable data and content.

 4
          167.      Plaintiffs have a property interest in the personally identifiable information and
     other personal information taken by Defendants. There is a market for such data and Plaintiffs
 5
     have been deprived of the money or property they would have received for the data
 6
     improperly collected by Defendants.
 7
          168.      Second, they have suffered harm to their devices. The battery, memory, CPU
 8   and bandwidth of such devices have been compromised, and as a result the functioning of
 9   such devices has been impaired and slowed.
10        169.      Third, they have incurred additional data usage and electricity costs that they

11   would not otherwise have incurred.

12
          170.      Fourth, they have suffered harm as a result of the invasion of privacy stemming
     from Defendants' accessing their private and personally identifiable data and content
13
     including user/device identifiers, biometric identifiers and information, and other private data
14
     and information.
15
          171.      Defendants, as a result of their misrepresentations, have been able to reap
16   unjust profits and revenues. This includes Defendants' profits and revenues from their
17   targeted advertising, revenue from the sale of goods on the Temu App/platform, and increased
18   consumer demand for and use of Defendants' other products and services. Plaintiffs seek

19   restitution and disgorgement of these unjust profits and revenues.

20
          172.      Unless restrained and enjoined, Defendants will continue to misrepresent their
     private and personally identifiable data and content collection and use practices and will not
21
     recall and destroy Plaintiffs wrongfully collected private and personally identifiable data and
22
     content. Accordingly, injunctive relief is appropriate.
23

24                                 SEVENTH CAUSE OF ACTION
25         VIOLATION OF THE RIGHT OF PRIVACY UNDER THE CALIFORNIA
26                                          CONSTITUTION

27                         (All California Plaintiffs Against All Defendants)

28
                                             25
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 1        173.      Plaintiffs reallege and incorporate by reference, as through fully set forth
 2   herein, each and every allegation set forth above.

 3        174.      The California Constitution and Common Law protect consumers from
     invasions of their privacy and intrusion upon seclusion.
 4
          175.      The right to privacy in California's constitution creates a ri ght of action against
 5
     private entities such as the Defendants.
 6
          176.      Plaintiffs' expectation of privacy is deeply enshrined in California's
 7
     Constitution. Article I, section 1 of the California Constitution provides: "All people are by
 8   nature free and independent and have inalienable rights. Among these are enjoying and
 9   defending life and liberty, acquiring, possessing, and protecting property and pursuing and
10   obtaining safety, happiness, and privacy."

11        177.      The phrase "and privacy" was added by the "Privacy Initiative" adopted by
     California voters in 1972. After voters approved a proposed legislative constitutional
12
     amendment designated as Proposition 11. Critically, the argument in favor of Proposition 11
13
     reveals that the legislative intent was to curb businesses' control over the unauthorized
14
     collection and use of consumers' personal information, stating:
15
                 The right of privacy is the right to be left alone .. .It prevents
16               government and business interests from collecting and stockpiling
                 unnecessary information about us and from misusing information
17               gathered for one purpose in order to serve other purposes or to
                 embarrass us. Fundamental to our privacy is the ability to control
18               circulation of personal information. This is essential to social
                 relationships and personal freedom. BALLOT PAMP., PROPOSED
19               STATS. & AMENDS. TO CAL. CONST. WITH ARGUMENTS TO
                 VOTERS, GEN. ELECTION *26 (Nov. 7, 1972).
20
          178.      The principal purpose of this constitutional right was to protect against
21
     unnecessary information gathering, use, and dissemination by public and private entities,
22   including the Defendants.
23        179.      To plead a California constitutional privacy claim, " a plaintiff must show an
24   invasion of (1) a legally protected privacy interest; (2) where the plaintiff had a reasonable

25   expectation of privacy in the circumstances; and (3) conduct by the defendant constituting a
     serious invasion of privacy. "
26
          180.      The Defendants collected the data with the intent to intrude upon users'
27
     seclusion and invade their constitutional privacy.
28
                                             26
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 1           181.      As described herein, The Defendants have intruded upon the following legally
 2   protected privacy interests:

 3                     a. The California Invasion of Privacy Act as alleged herein;
                       b. The California Comprehensive Data Access and Fraud Act as alleged
 4
                          herein;
 5
                       c. A Fourth Amendment right to privacy contained on personal computing
 6
                          devices, including web-browsing history, as explained by the United States
 7                        Supreme Court in the unanimous decision of Riley v. California;
 8                     d. The California Constitution, which guarantees Californians the right to
 9                        privacy;

10           182.      The Defendants' Privacy P olicy and policies referenced therein and other

11
     public promises it made not to track or intercept Plaintiffs' communications or access their
     computing devices and web-browsers while in a private browsing session.
12
             183.      Plaintiffs had a reasonable expectation of privacy under the circumstances in
13
     that Plaintiffs could not reasonably expect the Defendants would commit unlawful and
14
     offensive acts in violation of federal and state civil and criminal laws, and the Defendants
15   would and do secretly track their communications or access their computing devices.
16           184.      The Defendants' actions constituted a serious invasion of privacy in that it,
17   invaded a zone of privacy protected by the Fourth Amendment, namely the right to privacy in

18   data contained on personal computing devices, including conversations, and other personal
     data.
19
             185.      Violated dozens of state criminal laws on wiretapping and invasion of privacy,
20
     including the Federal Wire Tap Law and The California Invasion of Privacy Act;
21
             186.      Invaded the privacy rights of hundreds of millions of consumers (including
22
     Plaintiffs) without their consent.
23
             187.      Constituted the unauthorized taking of valuable information from hundreds of
24   millions of consumers (including Plaintiffs) through deceit.
25           188.      Further violated Plaintiffs' reasonable expectation of privacy via the
26   Defendants' review, analysis, and subsequent use of Plaintiffs' private conversations and data

27   that Plaintiffs considered sensitive and confidential.

28
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 1            189.      The surreptitious and unauthorized tracking of the internet communications of
 2   Plaintiffs, constitutes an egregious breach of social norms that is highly offensive.

 3            190.      The Defendants' invasion of privacy into Plaintiffs' internet communications
     and their computing devices, was highly offensive to a reasonable person in that they violated
 4
     federal and state criminal and civil laws designed to protect individual privacy and against
 5
     theft.
 6
              191.      Following the Defendants' unauthorized interception of the sensitive and
 7
     valuable personal information, the subsequent analysis and use of that private data to develop
 8   and refine profiles on Plaintiffs violated their reasonable expectations of privacy.
 9            192.      Wiretapping and surreptitious recording of communications is highly offensive
10   behavior.

11            193.      The Defendants lacked a legitimate business interest in tracking users while
     browsing the internet in incognito mode without their consent.
12
              194.      Plaintiffs have been damaged by the Defendants' invasion of their privacy and
13
     they are entitled to just compensation and injunctive relief.
14

15
                                        EIGTH CAUSE OF ACTION
16                                   INTRUSION UPON SECLUSION
17                            (All California Plaintiffs Against All Defendants)
18            195.      Plaintiffs reallege and incorporate by reference, as through fully set forth

19   herein, each and every allegation set forth above.

20            196.      Plaintiffs asserting claims for intrusion upon seclusion must plead: " (1)
     intrusion into a private place, conversation, or matter; (2) in a manner highly offensive to a
21
     reasonable person. "
22
              197.      In carrying out its scheme to track and intercept Plaintiffs' communications
23
     while they were using the Temu App/platform, the Defendants violated Plaintiffs' rights to
24   privacy and seclusion.
25            198.      The Defendants intentionally intruded upon Plaintiffs' solitude or seclusion in
26   that it effectively placed itself in the middle of conversations to which it was not an authorized
27   party.

28
                                                 28
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 1            199.      The Defendants' tracking and interception were not authorized by Plaintiffs,
 2   the Websites, and/or any other third party with which they were communicating with.

 3            200.      The Defendants' intentional intrusion into their internet communications and
     their computing devices was highly offensive to a reasonable person in that they violated
 4
     federal and state criminal and civil laws designed to protect individual privacy and against
 5
     theft.
 6
              201.      The taking of personally identifiable information from Plaintiffs through deceit
 7
     is highly offensive behavior.
 8            202.      Secret monitoring of private web browsing is highly offensive behavior.
 9            203.      Wiretapping and surreptitious recording of communications is highly offensive
10   behavior.
11            204.      Plaintiffs have been damaged by the Defendants' invasion of their privacy and

12   are entitled to reasonable compensation including but not limited to disgorgement of profits
     related to the unlawful internet tracking.
13

14                                                   PRAYER
15   WHEREFORE, Plaintiffs respectfully requests that this court:
16                      a. Entry of an order declaring that Defendants' actions, as set forth in this
17                         Complaint, violate the law;
18                     b. That the Plaintiffs be awarded all costs and litigation expenses incurred in
19                         bring this action;
20                     c. For reasonable attorneys' fees and costs incurred in bringing t his action;
21                     d. A judgment in favor of Plaintiffs awarding them appropriate monetary relief,
22                         including actual and statutory damages, including statutory damages under
23                         the CDAFA, punitive damages, attorney fees, expenses, costs, and such
24                         other and further relief as is just and proper.
25                     e. Entry of judgment in favor of Plaintiffs awarding compensatory damages,
26                         including statutory damages where available, to Plaintiffs and each of
27                         them, against Defendants for all damages sustained as a result of
28
                                                 29
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 1                     Defendants ' wrongdoing, in an amount to be proven at trial, including
 2                     interest thereon;
 3                 f. Award Plaintiffs pre- and post-judgment interest;
 4                 g. Award Plaintiffs their costs of suit, including reasonable attorneys' fees and
 5                     expenses;
 6                 h. Order disgorgement of all of Defendants' profits that were derived, in whole
 7                     or in part, from the Defendants' interce ption and subsequent use of
 8                     Plaintiffs' communications;
 9                 i. Award punitive damages in an amount to prevent Defendants' further
10                     misconduct;
11                 j. Entry of a permanent injunction, including public injunctive relief, enjoining;
12                 k. Grant Plaintiffs such further relief as the Court deems appropriate. Plaintiffs
13                     and each of them seek an award of actual damages to be determined at trial.
14

15
                                       JURY TRIAL DEMAND
16         Plaintiffs demand a trial by jury of all issues so triable.
17

18

19                                                 POTTER HANDY, LLP

20

21
     Dated: March 18, 2025                              tL
                                                _______________________________________
                                                Krista Hemming
                                                Attorneys for Plaintiffs
22

23

24

25

26

27

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                                          30
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    POTTER HANDY, LLP
    Mark Potter, Esq., SBN 166317
    Christina Carson, Esq. SBN 280048
    Krista Hemming, SBN 304213
    Mail: 100 Pine St., Ste. 1250
    San Francisco, CA 94111
    (415) 534-1911; (888) 422-5191 fax
    TEMUlit@potterhandy.com
    Attorneys for Plaintiffs

                            COMPLAINT: Attachment 1
              JOHNNY HART, ET AL., V. WHALECO, INC., d/b/a TEMU, ET AL.,


     2    Juanita Hafley                   AK         35      Vincent Swisher             AL
     3    Beverly Cooper                   AL         36      Yausko Gilchrist            AL
     4    Carla Williams                   AL         37      Benjamin Anderson           AR
     5    Carol Pasley                     AL         38      Christian Anderson          AR
     6    Cynthia Snipes                   AL         39      Jason Clark                 AR
     7    Donald Floyes                    AL         40      Jennifer Sanak              AR
     8    Eric Bragg                       AL         41      Jerry Lee Lovelace Sr.      AR
     9    Geraldine Lewis                  AL         42      Karen Wilson                AR
     10   Jovanna Pena Ortiz               AL         43      Lisa Sanders                AR
     11   Joyce McClung                    AL         44      Rebecca Bryant              AR
     12   Kendrick Nunn                    AL         45      Reenada Johnson             AR
     13   Kim Russell                      AL         46      Stephen Nealon              AR
     14   Kristine Mucho Burger            AL         47      Stevie Cannon               AR
     15   Lashondra Malone                 AL         48      Terry Brooks                AR
     16   Latasha Holley                   AL         49      Andrew Barbour              AZ
     17   Major Alexander                  AL         50      Brian Hadley                AZ
     18   Marshelia Evans                  AL         51      Brian Kelly                 AZ
     19   Paula Eason                      AL         52      Cheryl Chambers             AZ
     20   Peggy Davis                      AL         53      Claudette Koehler           AZ
     21   Regina Lawrence                  AL         54      Connie Rodriguez            AZ
     22   Rosita Dowdell                   AL         55      Earrylen Dotson             AZ
     23   Sally King                       AL         56      Gwyndolyn Foster            AZ
     24   Sandie Burrell                   AL         57      Joseph Smith                AZ
     25   Sandy Landers                    AL         58      Juanita Flores              AZ
     26   Sara Smith                       AL         59      June Donaldson              AZ
     27   Sherri Watson                    AL         60      Maureen Drobitsky           AZ
     28   Shirley Martin                   AL         61      Robert Grgula               AZ
     29   Sonia Malaney                    AL         62      Rochelle Defelice           AZ
     30   Susan Jenik                      AL         63      Sandra Desautels            AZ
     31   Tammie Brown                     AL         64      Sharon Hubrich              AZ
     32   Teresa Dry                       AL         65      Tammy Marquez               AZ
     33   Theodore Campbell                AL         66      Tiffany Dotson              AZ
     34   Valarie Arnold                   AL         67      Andrew Gulmatico            CA




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      68   Angel Gonzalez             CA         112    Kent Lamas                CA
      69   Annette Glenn              CA         113    Keyonna Daniels           CA
      70   Arica Armendariz           CA         114    Kristel Melendez          CA
      71   Aubrey Steinberg           CA         115    La Dona Eursey            CA
      72   Barbara Smith              CA         116    LaToya M. Wells           CA
      73   Beth Clark                 CA         117    Laura Deniz               CA
      74   Brenda Salazar             CA         118    Laura Todd                CA
      75   Carla Pinchback            CA         119    Lilian Navarro            CA
      76   Carlos Campos              CA         120    Linnea Bei                CA
      77   Carrie Montalvo            CA         121    Lisa Henley               CA
      78   Casey Kropf                CA         122    Lorie Williams            CA
      79   Catherine Ryan             CA         123    Lushana Flowers           CA
      80   Cathy Foster               CA         124    Lydia Darden              CA
      81   Cindy Castillo             CA         125    Maria Herrera             CA
      82   Corina Shaler              CA         126    Marissa Porcuna           CA
      83   Crystal Hagle              CA         127    Mark Brown                CA
      84   Daniel Falcon              CA         128    Mary Stieb                CA
      85   Dennis Frasher             CA         129    Maryann James             CA
      86   Deon Person                CA         130    Mathew Cross              CA
      87   Desiree Davis              CA         131    Miaia Brown               CA
      88   Dong Eun Kim               CA         132    Michael Cotton            CA
      89   Eric Hill                  CA         133    Michael Gambill           CA
      90   Erin Adams                 CA         134    Michael Graves            CA
      91   Ferdinand Soliven          CA         135    Michael Portalatin        CA
      92   Frankie M Solorio          CA         136    Michael Wooten            CA
      93   Gabriel Regpala            CA         137    Nekennalon Simpson        CA
      94   Gary Ungaro                CA         138    Nikki Salceda             CA
      95   Gayla Griffin              CA         139    Pamela Mathews            CA
      96   Genie Santana              CA         140    Patricia Houston          CA
      97   George Pratt               CA         141    Patricia Lopez            CA
      98   Glenda Moore               CA         142    Priscilla Flores          CA
      99   Helen Scott                CA         143    Purisima Palada           CA
     100   Ina Dougherty              CA         144    Rachel Barmes             CA
     101   Isaiah Robinson            CA         145    Renee Baylis              CA
     102   James Deluna               CA         146    Robert Jackson            CA
     103   Janita Thomas              CA         147    Robert Reese              CA
     104   Jason Swonger              CA         148    Rose Simon                CA
     105   Jesus Rojo                 CA         149    Roxanne Gutierrez         CA
     106   Jorge Castillo             CA         150    Sabrina Taylor            CA
     107   Jorge Mejia                CA         151    Sean Kell                 CA
     108   Joseph Carmody             CA         152    Sermsak Panichchanon      CA
     109   Joshua Erwin               CA         153    Sharon Nash Kramer        CA
     110   Karen Jewell               CA         154    Stephan Feliciana         CA
     111   Kathleen Marchington       CA         155    Stephen Lee               CA




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     156   Steven Jones             CA         200    Courtney Hartnagel        FL
     157   Susan Colby              CA         201    Cynthia Cruz              FL
     158   Thomas Trego             CA         202    Dan Gustafson             FL
     159   Tina Moreno              CA         203    Deborah Essamaoual        FL
     160   Tony Yang                CA         204    Debra Mcdonald            FL
     161   Tracie Williams          CA         205    Dominic Disalvo           FL
     162   Uvonda Parks             CA         206    Elizabeth Abruzzese       FL
     163   Venita Nasser            CA         207    Ellen Whitfield           FL
     164   Vikki Dimatteo           CA         208    Frank Duggar              FL
     165   Wendy Cross              CA         209    Hart Hall                 FL
     166   Yvette Garcia            CA         210    Jacqueline Bos            FL
     167   Crystal Highhawk         CO         211    Jennifer Morton           FL
     168   Derek Dadderio           CO         212    Jessica Kilgore           FL
     169   Donna Hucke              CO         213    Joanne Herrmann           FL
     170   Jane Berg                CO         214    Joshua Wisner             FL
     171   Ken Anderson             CO         215    Joy Risner                FL
     172   Rosalie Gurule           CO         216    Juan Abreu                FL
     173   Sandy Barnes             CO         217    June Wall                 FL
     174   Sara Oliver              CO         218    Karen Meisman             FL
     175   Sarah Kelly              CO         219    Lawrence Alpert           FL
     176   Stephen Clark            CO         220    Leanora Glasco            FL
     177   Wendell McNeil           CO         221    Lewis Willis              FL
     178   William Brennan          CO         222    Lily Rodriguez            FL
     179   Hamid Raza               CT         223    Lisa Spellacy             FL
     180   Mark Evon                CT         224    Maria Gardner             FL
     181   Miguel Colon             CT         225    Marina Rodriguez          FL
     182   Pam Martin               CT         226    Mariyan Hristov           FL
     183   Patrice Anderson         CT         227    Maureen Kleiman           FL
     184   Rene King                CT         228    Melisa Flores             FL
     185   Talitha Frazier          CT         229    Melissa Morris            FL
     186   Tammi Stanley            CT         230    Michael Thurber           FL
     187   Amber Gross-Gray         DC         231    Michelle Moffit           FL
     188   Aurelia Stanton          DC         232    Nadia Grillo              FL
     189   Denise Taylor            DC         233    Neil Walters              FL
     190   Regina Henson            DC         234    Nicole Lachance           FL
     191   Tyesha Roy               DC         235    Parris Beegle             FL
     192   Gary Wilson              DE         236    Patrick Thompson          FL
     193   Patricia Shoemaker       DE         237    Pavan Kumar Adiraju       FL
     194   Amanda Harper            FL         238    Peggy Cline               FL
     195   Andre Andino             FL         239    Richard Poerio            FL
     196   Betty Best               FL         240    Richard Reisinger         FL
     197   Carlos Calderon          FL         241    Robert Goldie             FL
     198   Christopher Suero        FL         242    Robin Smith               FL
     199   Clarette Stephen         FL         243    Rodney Dikin              FL




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     244   Sarah Vansant              FL         288    Tammy Foster               ID
     245   Shelby Morris              FL         289    Adriane Jefferson          IL
     246   Sherry Smith               FL         290    Alicia Riley               IL
     247   Sue Pitas                  FL         291    Amanda Genslinger          IL
     248   Susan Price                FL         292    Amanda Rogers              IL
     249   Susan Watson               FL         293    Andrea Carlson             IL
     250   Suzette Smith              FL         294    Angel Aponte               IL
     251   Symantha Barnes            FL         295    Angela Seaton              IL
     252   Tamera Fletcher            FL         296    Angelo Renardo             IL
     253   Tammy Williams             FL         297    Anna Poulos                IL
     254   Terrence Booker            FL         298    Anthony Walker             IL
     255   Terry Gardner              FL         299    Antoinette Holmes          IL
     256   Timothy King               FL         300    Basem Omari                IL
     257   Timothy Vantilburg         FL         301    Bela Ponyi                 IL
     258   Tonia Corbin               FL         302    Bernabe Aguilar            IL
     259   Tracy Germ                 FL         303    Beverly Williams           IL
     260   Tyler Corcella             FL         304    Bobbie Echols              IL
     261   Vernon Pinkham             FL         305    Brandy Deaton              IL
     262   Victoria Andino            FL         306    Brandy Yocum               IL
     263   Darlene Livingston         GA         307    Bryan Potter               IL
     264   Deborah Miles              GA         308    Cari Garrett               IL
     265   Desiree L. Ross            GA         309    Carl Hardy                 IL
     266   Eunice Carldwell           GA         310    Chad Obright               IL
     267   Gillis Spencer             GA         311    Cheryl Bell                IL
     268   Jackie Strickland          GA         312    Chris Chumbler             IL
     269   Kenneth Jamieson           GA         313    Chrisandra Sloncen         IL
     270   Lisa Randolph              GA         314    Christine Adams Harris     IL
     271   Myron Varlow-Walters       GA         315    Christopher Gray           IL
     272   Rosemarie Marrone          GA         316    Christy Schertz            IL
     273   Sherylyn Ellison           GA         317    Clarence Wilson            IL
     274   Tammy Morris               GA         318    Crystalyn Ewing            IL
     275   Teresa M. Dawson           GA         319    Cynthia Calhoun            IL
     276   Xevi Meek                  GA         320    Cynthia Kuhnert            IL
     277   Jane Wakimoto              HI         321    Danyel Staats              IL
     278   Mona Livsey                HI         322    Dave Killingsworth         IL
     279   Nanci Both                 HI         323    David Harper               IL
     280   Anita Greenfield           IA         324    Deanna Tolson              IL
     281   Sidney Mejia               IA         325    Deborah Lamberti           IL
     282   Stephanie Zuck             IA         326    Demetries Maddox           IL
     283   Steve Davis                IA         327    Denia Wilhoyt              IL
     284   Donita Morgan              ID         328    Derek Ross                 IL
     285   Jeremy Beitz               ID         329    Dewilla Cooper             IL
     286   Kassandra Morris           ID         330    Don Petersen               IL
     287   Rick Klawitter             ID         331    Donnie Farrell             IL




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     332   Dorothy Johnson               IL         376    Latonya Jackson          IL
     333   Dorothy Schaefer              IL         377    Latonya Johnson          IL
     334   Doug Mansker                  IL         378    Laura Gonzales           IL
     335   Elizabeth Mendoza             IL         379    Laura Martin             IL
     336   Emma Hamler                   IL         380    Laura Walker             IL
     337   Eric Ohlendorf                IL         381    Lisa Farrell             IL
     338   Eric Reeves                   IL         382    Lisa Livvix              IL
     339   Faith Runkel                  IL         383    Lonnell Madison          IL
     340   Fatima Scott                  IL         384    Manual Gonzalez          IL
     341   Gina Abdellatif               IL         385    Marcus Andreopoulos      IL
     342   Greg Rowatt                   IL         386    Marcy Reif               IL
     343   Gregory Kinsel                IL         387    Maria Arreola            IL
     344   Gregory Taylor                IL         388    Martin Sharp             IL
     345   Haley Long                    IL         389    Mary Cooper              IL
     346   Iesha Paulette                IL         390    Mekya Lackey             IL
     347   James Lawler                  IL         391    Melinda Clark            IL
     348   Janell Jones                  IL         392    Melissa Jones            IL
     349   Janet Mikorski                IL         393    Melissa Williams         IL
     350   Jason Hasselson               IL         394    Michael Morales          IL
     351   Jason Heimberger              IL         395    Michele Siperly          IL
     352   Jennifer Debose               IL         396    Misty Brimm              IL
     353   John R Martell                IL         397    Naomi Owens              IL
     354   Josh Smith                    IL         398    Nicole Johnston          IL
     355   Joshua Cocke                  IL         399    Pamela Burditt           IL
     356   Juanakee Beasley              IL         400    Patricia Darling         IL
     357   Karen Crawford Theobald       IL         401    Patricia Doran           IL
     358   Kasey Baker                   IL         402    Patricia Michaud         IL
     359   Katelin Cruz                  IL         403    Paul Pardo               IL
     360   Katherine Rowden              IL         404    Paula Freeman            IL
     361   Katherine Tabor               IL         405    Paulius Jatulis          IL
     362   Kathy McClure                 IL         406    Pawel Nowinski           IL
     363   Keisha Rogers                 IL         407    Pericia Barr             IL
     364   Kelley Smith                  IL         408    Racediate Paramore       IL
     365   Kelli Killion                 IL         409    Rachel Limbrick          IL
     366   Kelly Smith                   IL         410    Rebecca nance            IL
     367   Kerry Fenton                  IL         411    Rhonda Robinson          IL
     368   Kim Washington                IL         412    Rick Tomlinson           IL
     369   King Davis                    IL         413    Robert Godbey            IL
     370   Kristal Kelley                IL         414    Robert Lemons            IL
     371   Kylea Masell                  IL         415    Robyn Beeson             IL
     372   Lacey Barrera                 IL         416    Rory Baker               IL
     373   Lakeisha Williams             IL         417    Sarah Krilich            IL
     374   Larry Travis                  IL         418    Savannah Mathis          IL
     375   Latisha Crittenden            IL         419    Shane Sweet              IL




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     420   Shanoki Powell             IL         464    Michael Coleman            IN
     421   Sharon Haas                IL         465    Mindy Burnfin              IN
     422   Shawna Spraggins           IL         466    Peggy Jenkins              IN
     423   Shawniece Adams            IL         467    Richard Lovell             IN
     424   Shawntayne Frederick       IL         468    Sam Cotton                 IN
     425   Shayelin Wiborg            IL         469    Scott Fishel               IN
     426   Sheila Williams            IL         470    Scott Krenzke              IN
     427   Tamara Teague              IL         471    Shelly Steffy              IN
     428   Temeria Jackson            IL         472    Stacy Laycock              IN
     429   Terry Legel                IL         473    Sylvia Renner              IN
     430   Terry McCurry              IL         474    Tina Ochoa                 IN
     431   Theodore Plante            IL         475    Tracey Williams            IN
     432   Tiffany Cedano             IL         476    Eric West                  KS
     433   Tiffany Stokes             IL         477    Kathy Bitting              KS
     434   Tina Garcia                IL         478    Trent Thomas               KS
     435   Tonya White                IL         479    Amber Carson               KY
     436   Tracy Heck                 IL         480    April Emigh                KY
     437   Trenetta Jones             IL         481    Barbara Dearinger          KY
     438   Trish Wilkus               IL         482    Brandy Deleau              KY
     439   Tyrone Banks               IL         483    Danielle Coulter           KY
     440   Tyrone Holden              IL         484    Deleah Brown               KY
     441   Veronica Lloyd             IL         485    Jesse Garland              KY
     442   Vickie Graham Kenton       IL         486    Joyce Molnar               KY
     443   Vickie Hendricks           IL         487    Karin Little               KY
     444   Wanda Morales              IL         488    Lisa Cole                  KY
     445   William Evans              IL         489    Mandy M Carpenter          KY
     446   Willie Jean Tolliver       IL         490    Mickey Shelton             KY
     447   Austin Metzler             IN         491    Nicholas Marino            KY
     448   Cindi Lenz                 IN         492    Phillip Doughty            KY
     449   Claude Pearson             IN         493    Robbie Wilburn             KY
     450   Conley Stamper             IN         494    Sherry Gay                 KY
     451   Corissa Prater             IN         495    Vernice Brown              KY
     452   Crystal Cervantes          IN         496    Daisy Daigle               LA
     453   Delbert McCarty            IN         497    Desiree Morgan             LA
     454   Donna Prince               IN         498    Frances Rodriguez          LA
     455   Douglas Chandler           IN         499    Freddie Jiles              LA
     456   Elizabeth Sosbe            IN         500    Genevia Brimmer            LA
     457   Elizabeth Winters          IN         501    Greg Smith                 LA
     458   Jasmine Christner          IN         502    Jacqueline Sardinas        LA
     459   Kathy Phelan               IN         503    Jeffrey Polaske            LA
     460   Katrina Logsdon            IN         504    Joshua Ziobrowski          LA
     461   Lesley Bennett             IN         505    Juanita Bartie             LA
     462   Lisa Beeman                IN         506    Julia Bridges              LA
     463   Margaret Gilbert           IN         507    Julie Romero               LA




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     508   Karla Young                  LA          552    Debra Marconi              MO
     509   Lynette Gullage Pittman      LA          553    Diane Oliver               MO
     510   Sarah Kinnard                LA          554    Emery Priest               MO
     511   Aaron Allen                  MA          555    Floyd Scheuerman Jr.       MO
     512   Derek Maher                  MA          556    Jennifer McCall            MO
     513   Jana Lanier                  MA          557    Joe Staten                 MO
     514   Michael Pleas                MA          558    Joseph McCollum            MO
     515   Patti Zackular               MA          559    Juanita Williams           MO
     516   Shari Moy                    MA          560    Kevin Zinselmeier          MO
     517   Susan Masson                 MA          561    Laura Mellott              MO
     518   Theron Barr                  MA          562    Marilyn Kelsey             MO
     519   Antonio Baker                MD          563    Melisa Downard             MO
     520   Barbara Missouri             MD          564    Michelle Dismute           MO
     521   Francine Tucker              MD          565    Michelle Languein          MO
     522   Kathy Seal                   MD          566    Nicholas Brockelman        MO
     523   Allan Viernes                ME          567    Nicole Roberts             MO
     524   Lukes Dionne                 ME          568    Pamela Thoming             MO
     525   Patty Tasker                 ME          569    Robin Suneson              MO
     526   Bonnie Cook                  MI          570    Ronne Cain                 MO
     527   Candy Peacock                MI          571    Ryan Baker                 MO
     528   Connie Benson                MI          572    Sharlene Deever            MO
     529   Connie Johnson               MI          573    Sondra Simmons             MO
     530   Joel Bellefeuille            MI          574    Tara Rice                  MO
     531   Joni Ekin                    MI          575    Teresa Ford                MO
     532   Karen Paytas                 MI          576    Teresa Marie Byersdorf     MO
     533   Kimberly Gutierrez           MI          577    William Kattner            MO
     534   Lucy Root                    MI          578    Bertha Jones               MS
     535   Mary Flynn                   MI          579    Brandon Hurst              MS
     536   Muslimah Mannan              MI          580    Calvin Glover              MS
     537   Nicholas Jaco                MI          581    Carolyn Rush               MS
     538   Pamela Stalker               MI          582    Catina Brown               MS
     539   Sarah Lilly                  MI          583    David Gentry               MS
     540   Shelley Bos                  MI          584    Diane Porter               MS
     541   Tammy Lacey                  MI          585    Dorothy Bowman             MS
     542   Tina Fletcher                MI          586    Kenyata Payne              MS
     543   Tracey Miller                MI          587    Lisa Carter                MS
     544   William Landacre             MI          588    Malinda Martin             MS
     545   Adric Schroeck               MN          589    Ramona Russum              MS
     546   Christopher Juelsgaard       MN          590    Sarah Parker               MS
     547   Crystal Zschokke             MN          591    Sharon Taylor              MS
     548   David Cooper                 MN          592    Thomas Connell             MS
     549   Nancy Smith                  MN          593    Vanessia Darden            MS
     550   Robin Welle                  MN          594    Vera yates Yates           MS
     551   Dana Bruynell                MO          595    Brandy Thomas              MT




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     596   Marla Redhorn               MT         640    Stephanie Haugtvedt       ND
     597   Matthew Felde               MT         641    Brett Boller              NE
     598   Stephen Melton              MT         642    Laura Deines              NE
     599   Veronica Evans              MT         643    Noemy Gonzalez            NE
     600   Arnold Thomas               NC         644    Sean Gifford              NE
     601   Charles Mcnair              NC         645    Ann Zinis                 NH
     602   Christopher Brown           NC         646    Janet Moritz              NH
     603   Coy Greene                  NC         647    Aldo Colella              NJ
     604   Debbie Duckworth            NC         648    Anna Johnson              NJ
     605   Delores Pearson             NC         649    Aracelis Zambrana         NJ
     606   Desiree Hernandez           NC         650    Jerome Gillespie          NJ
     607   Donna Cotten                NC         651    Joanne McMenamin          NJ
     608   Donna Lengtat               NC         652    Lindy McKinnon            NJ
     609   Hannah Sigley               NC         653    Lisette Reyes             NJ
     610   James Stephens              NC         654    Susan Prontnicki          NJ
     611   Janet Oliver                NC         655    Tammy Henk                NJ
     612   Jennifer Meekins            NC         656    Cheryl Howe               NM
     613   Kalaliah Hinson             NC         657    Doss Kuykendall           NM
     614   Karen Crowe                 NC         658    Eleazar Macias            NM
     615   Kelsey Capel                NC         659    Janet Akerman             NM
     616   Kenneth Andrews             NC         660    Justin Harris             NM
     617   Kimberlee Young             NC         661    Kenneth Cummings          NM
     618   Kisha Lilly-Davis           NC         662    Lena Hinojoza             NM
     619   Lexan Blanchard             NC         663    Megan Kranz               NM
     620   Lorie Barker                NC         664    Minerva Garcia            NM
     621   Margaret Powell             NC         665    Raymond Woods             NM
     622   Mary Ward                   NC         666    Sara Bergert              NM
     623   Melissa Byrd                NC         667    Shanna Williams           NM
     624   Melissa Reynolds            NC         668    Anya Lindsey              NV
     625   Michael Taylor              NC         669    Crystal Evans             NV
     626   Michelle Bailey             NC         670    Donna Spooner             NV
     627   Monica Jacobs               NC         671    Estella Davis             NV
     628   Reginald R Smith            NC         672    Jessica Hesseltine        NV
     629   Rene Bucher                 NC         673    Michelle Luchs            NV
     630   Ronnie Smith                NC         674    Pamela Kelly              NV
     631   Sandy Morris                NC         675    Renee Bishop              NV
     632   Sherry Rowe                 NC         676    Theresa Venuti            NV
     633   Suzanne O'leary             NC         677    Alice Blake               NY
     634   Tina Patterson              NC         678    Alicia Hewitt             NY
     635   Tosha Griffey               NC         679    Amanda Lewis              NY
     636   Utica McCrorey Butler       NC         680    Bryan Greenawalt          NY
     637   William Agreste             NC         681    Calvin Bailey             NY
     638   Keyawn Phillips             ND         682    Charles Hartmann          NY
     639   Lance Wanner                ND         683    Cynthia Schilling         NY




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     684   Debra Johnson             NY         728    Lakeshia Green            OH
     685   Denise Tietjen            NY         729    Lisa Jones                OH
     686   Dennis Petragnani         NY         730    Martha Huff               OH
     687   Janel Salisbury           NY         731    Melissa Daines            OH
     688   Jason Gaughan             NY         732    Michelle Y Clark          OH
     689   Joyce Skobern             NY         733    Mick Crum                 OH
     690   Linda Pearl               NY         734    Mikala Freeman            OH
     691   Lynn Artesona             NY         735    Miranda Murphy            OH
     692   Marlene Barnes            NY         736    Norma Ramsey              OH
     693   Mary Contreras            NY         737    Patrick Dorsey            OH
     694   Mary Jo McCafferty        NY         738    Rebecca Barnhouse         OH
     695   Michael Gibbons           NY         739    Robin Maragos             OH
     696   Ravonne Johnson           NY         740    Ruth Shaffer              OH
     697   Scott Duval               NY         741    Shawn Miller              OH
     698   Sherise Richardson        NY         742    Sheree Prince             OH
     699   Sonia Mashack             NY         743    Tammy Posey               OH
     700   Spartak Abdullin          NY         744    Tanya Turner              OH
     701   Stacey Truell             NY         745    Tina Knoll                OH
     702   Tanya Ruffins             NY         746    Tom Slayton               OH
     703   Teresa Lane               NY         747    Tonya Hoover              OH
     704   William Ciaravino         NY         748    William Holsey            OH
     705   Angela Hayesjames         OH         749    Willow Jade Qn-Phoenix    OH
     706   Barb Caretti              OH         750    April Simmons             OK
     707   Brian Brown               OH         751    David Greenway            OK
     708   Cheryl Westbrook          OH         752    Deanna Jennings           OK
     709   Christopher Baker         OH         753    Denise Campbell           OK
     710   Craig Morgan              OH         754    Derek Tuley               OK
     711   Cyn Strong                OH         755    Jessica Rinehart          OK
     712   Darrell Turner            OH         756    Joe Redd                  OK
     713   Debra Coleman             OH         757    John Lott                 OK
     714   Dorelyn Mitchell          OH         758    Mark Eilrich              OK
     715   El Welch                  OH         759    Sandy Leggins             OK
     716   Evelyn Laskowski          OH         760    Steven Cordova            OK
     717   Frederick Snow            OH         761    Stuart Sisson             OK
     718   Fredrick Wright           OH         762    Tammy Oneal               OK
     719   Garrett Day               OH         763    Terri Sprehe              OK
     720   Greg Snare                OH         764    Amber Simpson             OR
     721   Gregory Applegate         OH         765    Barbara Lastfogel         OR
     722   Hollie Anderson Jr.       OH         766    Carl Preissler            OR
     723   Jason England             OH         767    Christina Rojas           OR
     724   John Buday                OH         768    Crystal Brotten           OR
     725   John Pendergast           OH         769    Halsey Weston             OR
     726   Josh Whitehead            OH         770    Jason Rhorer              OR
     727   Katrina Feichter          OH         771    Jolyn Cookman             OR




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     772   Karin Pierce              OR         816    Joyce Dixon               SC
     773   Kathie Dollarhide         OR         817    Lee Ann Waychoff          SC
     774   Kayleen Powers            OR         818    Marlo Miles               SC
     775   Kimberly Petitt           OR         819    Susan Fallica             SC
     776   Lee Nash                  OR         820    Troy McCrory              SC
     777   Lori Chandler             OR         821    William Dryden            SC
     778   Michael Vargas            OR                David American Horse
     779   Nicholias McGuire         OR         822    Onassis                   SD
     780   Phillip Buyas             OR         823    Neil Thomas               SD
     781   Rose Peterson             OR         824    Berlin Stinson            TN
     782   Tavia Guse                OR         825    Brenda Cowans             TN
     783   Tina Henderson            OR         826    Ciji Fortner              TN
     784   Victoria Cutright         OR         827    Dawn McKeon               TN
     785   Wendi A. Whitehurst       OR         828    Dennis Johnson            TN
     786   Willow Wilde              OR         829    Diana Davis               TN
     787   Adam Danaher              PA         830    Diane Sullivan            TN
     788   Aimee Rosa                PA         831    Donna Richardson          TN
     789   Amy Rivera                PA         832    Glen Handley              TN
     790   Bernadette Clark          PA         833    Gw Taylor                 TN
     791   Carmen Rivera             PA         834    Isabelle Kavanagah        TN
     792   Cecil Lemmon              PA         835    James Cleaver             TN
     793   Darlene Nelson            PA         836    James Quarles             TN
     794   David Breinig             PA         837    Jeannie Lavalley          TN
     795   Denise Dongvort           PA         838    John Sadler               TN
     796   Jane Taylor               PA         839    Joshua Fraga              TN
     797   Jason Andrayko            PA         840    Kimberly Burke            TN
     798   Jeremy A. Milbee          PA         841    Mari Logan                TN
     799   Joel Dunmeyer             PA         842    Michael Roberts           TN
     800   John Santiago             PA         843    Nioma Johnsonruiz         TN
     801   Lora Watkins              PA         844    Paul Galyon               TN
     802   Luz Valle                 PA         845    Rebecca Sartor Wolff      TN
     803   Marie Hoffman             PA         846    Robert Pope               TN
     804   Mary Ingram               PA         847    Royce Griffin             TN
     805   Micheal Rachau            PA         848    Russell Scott             TN
     806   Neil Bartoe               PA         849    Samuel Johnson            TN
     807   Renita Crable             PA         850    Sandra Harris             TN
     808   Ruth Moore                PA         851    Sharon Bedwell            TN
     809   Timothy Hollis            PA         852    Sharon Frierson           TN
     810   Deirdre Allard            RI         853    Timothy Cosby             TN
     811   Gwendolyn Robinson        RI         854    Tonya Gentry              TN
     812   Virginia Obrien           RI         855    Ava Gillespie             TX
     813   Jamella Benson            SC         856    Bambi Meier               TX
     814   James Siefert             SC         857    Barbara Scibuola          TX
     815   Jennifer Long             SC         858    Brandon Pearson           TX
                                                859    Brenda Gruner             TX



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     860   Bridget Davidson          TX         904    Warren Flannel             TX
     861   Catherine Hollis          TX         905    William Teel               TX
     862   Christa Mackey            TX         906    Bobby Jennings             UT
     863   Christi Gardner           TX         907    Caroline Jaramillo         UT
     864   Christopher Comer         TX         908    Douglas Meyer              UT
     865   Collin Kelso              TX         909    Peter Hewitt               UT
     866   Corey Jordan              TX         910    Stephanie Sneed            UT
     867   Cynthia McCoy             TX         911    Alvin Sparkman             VA
     868   David Allen               TX         912    Ashley Darley              VA
     869   David Mason               TX         913    Cynthia Goley              VA
     870   Deepak Thomas             TX         914    Deborah Cumbee             VA
     871   Derek Maddox              TX         915    Georgiann Allen            VA
     872   Diana Cook                TX         916    Glenda Burke               VA
     873   Diana Garcia              TX         917    Glenn Wurdemann            VA
     874   Dorothy Evins             TX         918    Joni Young                 VA
     875   Jacqueline Harvey         TX         919    Kimberly Grant             VA
     876   Jimmy Perales             TX         920    Nicole Michaels            VA
     877   Joanne Cahee              TX         921    Sherry Vance               VA
     878   Jody Sage                 TX         922    Susan Gibson               VA
     879   John Vanhoose             TX         923    Tina Coleman               VA
     880   Juan Barrientes           TX         924    Anthony Karol              VT
     881   Judy Perkins              TX         925    Brenda Morris              WA
     882   Katrina Couch             TX         926    Carey Gruver               WA
     883   Kayla Mobley              TX         927    Christopher Johnson        WA
     884   Kevin Simon               TX         928    Cindy Schabeck             WA
     885   Kimberly Merridith        TX         929    Darlene Myer               WA
     886   Kristi Fenrich            TX         930    David Emerson              WA
     887   Laurie Greener            TX         931    Dennis James               WA
     888   Lisa Irons                TX         932    Evan Smith                 WA
     889   Melisa Vickers            TX         933    Heidi Hale                 WA
     890   Melissa Autry             TX         934    Jason Wells                WA
     891   Oralia Jimenez            TX         935    Jaye Young                 WA
     892   Peggy Mayberry            TX         936    Jerome Johnson             WA
     893   Peter Visel               TX         937    Jon Pour                   WA
     894   Richard Hinegardner       TX         938    Joseph Evenson             WA
     895   Robert Huffman            TX         939    Julie Grote                WA
     896   Shawna Zatloukal          TX         940    Julie Schulze              WA
     897   Shelia Williams           TX         941    Katen Glazer               WA
     898   Stacy Mayo                TX         942    Kimberly Montgomery        WA
     899   Thomas Malcolm            TX         943    Ladd keith Nightengale     WA
     900   Timmie Mosley             TX         944    Melissa McAllister         WA
     901   Veronica Roberson         TX         945    Melody Clark               WA
     902   Vickie Wilson             TX         946    Miranda Riggen             WA
     903   Vivian Lindley            TX         947    Noah Hansen                WA




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     948   Penny Denson            WA
     949   Rachael Loehmer         WA
     950   Rachel Halls            WA
     951   Shirley Fisher          WA
     952   Stephen Guydos          WA
     953   Brenda Dobbertin        WI
     954   Charlene Klitzka        WI
     955   Debby Krueger           WI
     956   Denise Welch            WI
     957   Douglas Bielat          WI
     958   Evon Partee             WI
     959   Georgia Roby            WI
     960   Jamie Moesch            WI
     961   Judi Loux               WI
     962   Kelly Lafrenier         WI
     963   Keshaunta Kelly         WI
     964   Lynn Banks              WI
     965   Russell Deveau          WI
     966   William Geiger          WI
     967   Yvonne Linn             WI
     968   Amanda Fittro           WV
     969   Cheryl Stemple          WV
     970   Lisa Chapman            WV
     971   Michele Harper          WV
     972   Wendy Kiser             WV
     973   Wenona Christensen      WV
     974   Debbie Milder           WY




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